
In re Campbell, Earl M.; — Plaintiff(s); applying for permission to apply to take the Louisiana Bar Exam.
Granted. Petitioner is allowed to take the Louisiana State Bar Examination in July, 1998, and upon having satisfactorily passed such examination, petitioner may apply to this court for the appointment of a commissioner, in accordance with Chapter 4, Article 14, Section 9 of the Articles of Incorporation of the Louisiana State Bar Association, to take evidence and report to this court as to whether petitioner has the appropriate character and fitness to be admitted to the bar and allowed to practice law.
TRAYLOR, J., would deny the writ.
KIMBALL, J., not on panel.
